Case 2:07-cv-03239-TJH-RNB Document 591 Filed 05/25/22 Page 1 of 1 Page ID #:10666




                       UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                          MAY 25 2022
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
   ALEJANDRO RODRIGUEZ; et al.,                    No.    20-55770

                   Petitioners-Appellees,          D.C. No.
                                                   2:07-cv-03239-TJH-RNB
    v.                                             Central District of California,
                                                   Los Angeles
   WILLIAM P. BARR, Attorney General; et
   al.,                                            ORDER

                   Respondents-Appellants.

   Before: WARDLAW and GOULD, Circuit Judges, and HADDON,* District
   Judge.

         The parties’ joint motion to extend the deadline to file a Petition for Panel

   Rehearing or Rehearing En Banc by 90 days to afford the parties time to mediate

   this dispute (Dckt. No. 36) is GRANTED.

         IT IS SO ORDERED.




         *
                The Honorable Sam E. Haddon, United States District Judge for the
   District of Montana, sitting by designation.
